Case 9:21-cv-81011-DMM Document 7 Entered on FLSD Docket 06/30/2021 Page 1 of 1




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 21-81011-Civ-MIDDLEBROOKS/Matthewman

  NELSON FERNANDEZ,

          Plaintiff,
  vs.

  COUNTRY VISIONS, INC., d/b/a
  APRICOT LANE BOUTIQUE,
  a foreign for-profit corporation, and
  WEIMAN, INC., d/b/a APRICOT
  LANE, a Florida for-profit
  corporation,

        Defendants.
  _________________________________/

                             PLAINTIFF’S NOTICE OF SETTLEMENT

          Plaintiff NELSON FERNANDEZ, by and through his undersigned Counsel, hereby

  provides notice that the parties have reached a settlement and will be executing necessary

  paperwork resolving all claims and matters in the case. Accordingly, the parties respectfully request

  that the Court provide the parties ten (10) days from the date of filing this Notice to allow the parties

  to finalize the settlement agreement and file a voluntary dismissal with prejudice.

          DATED: June 30, 2021.

          Respectfully submitted,

  RODERICK V. HANNAH, ESQ., P.A.                          LAW OFFICE OF PELAYO
  Counsel for Plaintiff                                   DURAN, P.A.
  4800 N. Hiatus Road                                     Co-Counsel for Plaintiff
  Sunrise, FL 33351                                       4640 N.W. 7th Street
  T. 954/362-3800                                         Miami, FL 33126-2309
  954/362-3779 (Facsimile)                                T. 305/266-9780
  Email: rhannah@rhannahlaw.com                           305/269-8311 (Facsimile)
                                                          Email: pduran@pelayoduran.com

  By____s/ Roderick V. Hannah __                          By ___s/ Pelayo M. Duran ______
        RODERICK V. HANNAH                                      PELAYO M. DURAN
        Fla. Bar No. 435384                                     Fla. Bar No. 0146595
